     ROBERT YAMACHIKA, OSB 065560
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     Chief Deputy City Attorney
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     Portland City Attorney’s Office
     1221 SW 4th Avenue, Room 430
     Portland, OR 97204
     Telephone: (503) 823-4047
     Facsimile: (503) 823-3089
     Of Attorneys for Defendants City of Portland,
     Roger Walsh and Bradley Clark


                                   UNITED STATES DISTRICT COURT

                                          DISTRICT OF OREGON

                                           PORTLAND DIVISION


     DON PERKINS,                                            3:18-cv-896 ___

                      PLAINTIFF,
                                                             REMOVAL NOTICE
               v.

     CITY OF PORTLAND, OFC. ROGER
     WALSH, OFC. BRADLEY CLARK,

                      DEFENDANTS.


     TO:       THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
               OF OREGON:
               Removing party, City of Portland, by its undersigned attorney, respectfully shows this

     Court:

               1.     The removing party, City of Portland, is the defendant in the above-entitled

     action.

               2.     On March 22, 2018, the above-entitled action was commenced against the City of

     Portland in the Circuit Court of the State of Oregon for the County of Multnomah and is now

     pending in such court, with the court number 18CV10934.


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                                           PORTLAND CITY ATTORNEY’S OFFICE
                                              1221 SW 4TH AVENUE, RM 430
                                               PORTLAND, OREGON 97204
                                                     (503) 823-4047
              3.      On April 23, 2018, a copy of the Summons and Complaint in the above-entitled

     state action was served upon the Portland City Attorney at the Offices of the City Attorney in

     Portland, Oregon. On April 26, 2018, a copy of the Summons and Complaint in the above-

     entitled state action was served upon defendant Roger Walsh at 111 SW 2nd Ave, Portland OR

     97204.

              4.      On May 16, 2018, an Acceptance of Service on behalf of defendant Bradley Clark

     was sent to plaintiff counsel.

              5.      Each of the named defendants in this case agrees this action should be removed

     from state to federal court.

              6.      No further proceedings have been had in this action in state court.

              7.      This notice of removal is filed within 30 days after service of process.

              8.      This Court has original jurisdiction of the above-entitled action pursuant to

     28 U.S.C. §§ 1331 and 1343 because it is a suit for damages on account of an alleged violation of

     plaintiff's rights, privileges and immunities secured by the Constitution and laws of the United

     States. This action is removable under 28 U.S.C. § 1441(a) and (b).

              9.      A copy of the Multnomah County Circuit Court File, including copies of the

     Complaint and Summons served on defendants City of Portland and Roger Walsh, and a copy of

     an Acceptance of Service on behalf of defendant Bradley Clark that was sent to plaintiff’s

     counsel on May 16, 2018 are attached to this Notice.

              10.     On the date set forth below, a copy of this notice was served on plaintiff’s

     attorney. On the same date, a copy of this notice was filed with the clerk of the Multnomah

     County Circuit Court in which the action was commenced.

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                                           PORTLAND CITY ATTORNEY’S OFFICE
                                              1221 SW 4TH AVENUE, RM 430
                                               PORTLAND, OREGON 97204
                                                     (503) 823-4047
            WHEREFORE, the City of Portland requests that the above-entitled action be removed

     from the Circuit Court of the State of Oregon for the County of Multnomah to the United States

     District Court for the District of Oregon.

            Dated: May 22, 2018


                                                          /s/ Robert Yamachika
                                                          Robert Yamachika, OSB #065560
                                                          Senior Deputy City Attorney
                                                          Telephone: (503) 823-4047
                                                          Of Attorneys for Defendants City of Portland,
                                                          Roger Walsh and Bradley Clark




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                                          PORTLAND CITY ATTORNEY’S OFFICE
                                             1221 SW 4TH AVENUE, RM 430
                                              PORTLAND, OREGON 97204
                                                    (503) 823-4047
                                     CERTIFICATE OF SERVICE


            I hereby certify that I served the foregoing REMOVAL NOTICE on:


                   Thomas C. Patton
                   8 N. State Street, Suite 301
                   Lake Oswego, OR 97034
                                  Of Attorneys for Plaintiff Don Perkins


     on May 22, 2018, by causing a full, true and correct copy thereof, addressed to the last-known
     address (or fax number) of said attorney, to be sent by the following method(s):

              by mail in a sealed envelope, with postage paid, and deposited with the U.S. Postal
              Service in Portland, Oregon.

              by hand delivery.

            by facsimile transmission.

            by email.




                                                         /s/ Robert Yamachika
                                                         ROBERT YAMACHIKA, OSB #065560
                                                         Senior Deputy City Attorney
                                                         Email: Rob.Yamachika@portlandoregon.gov
                                                         Fax: (503) 823-3089
                                                         Of Attorneys for Defendants City of Portland,
                                                         Roger Walsh and Bradley Clark




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